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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X             11/5/2020
VALERIE STEELE,                                                :
                                                               :   19-CV-5659 (AJN) (RWL)
                                    Plaintiff,                 :
                                                               :   ORDER
                  - against -                                  :
                                                               :
SUCCESS ACADEMY CHARTER SCHOOLS, :
INC., et al.,                                                  :
                                                               :
                                    Defendant.                 :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        This matter has been referred to me for general pretrial purposes in addition to

settlement. Accordingly, in the parties’ letter due by November 10, 2020, they shall

include a proposed schedule for the remainder of discovery and any issues meriting

attention.

                                                     SO ORDERED.



                                                     _______________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated: November 5, 2020
       New York, New York

Copies transmitted this date to all counsel of record.
